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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA


          -v-                                                      No. 08-cr-789-1 (RJS)
                                                                         ORDER
 ROBERTO SANCHEZ,

                                 Defendant.


RICHARD J. SULLIVAN, Circuit Judge:

         On April 9, 2020, Defendant submitted a pro se letter in connection with his pro se November 26,

2019 motion for compassionate release, referring to the COVID-19 pandemic and his medical conditions.

(Doc. No. 406.) Although he referred to attached “medical records,” no medical records were included

with the letter. The Court is now in receipt of those “medical records” – a four-page “Health Services

Clinical Encounter” document that was sent separately to chambers and was received on April 20, 2020.

In light of the inclusion of Defendant’s private medical information in the document, the Court concludes

that the presumption in favor of open records is outweighed by Defendant’s privacy interest. See United

States v. Amodeo, 71 F.3d 1044, 1051 (2d Cir. 1995). Accordingly, IT IS HEREBY ORDERED THAT

the four-page “Health Services Clinical Encounter” document shall be filed under seal.

SO ORDERED.

Dated:           April 21, 2020
                 New York, New York


                                                     RICHARD J. SULLIVAN
                                                     UNITED STATES CIRCUIT JUDGE
                                                     Sitting by Designation
